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Exhibit E

Oard V. Coun ty ofMuSkegon and 14th Judjcja] Ujl"cujt Coul't
1117~CV'1136

 

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UNITED STATBS DISTRICT COURT
FOR THE WESTERN DISTRICT OF MICH[GAN
VERNON OARD,
Plaintiff,
v Case No. l:l7-CV-1136
Hon. PAUL L. MALONEY

COUNTY OF MUSKEGON, and

 

14TH JUDICIAL CIRCUIT COURT,
Defendants.
PINSKY, SMITH, FAYETTE JOHNSON, ROSATI,
& KENNEDY, LLP SCHULTZ & JOPPICH, P.C.
By: Sarah leey Howard (P58531) By: Laura S. Amtsbuechler (P3 6972)
Erin Dornbos (P80834) Laura Bailey Brown (P79742)

Attorneys for Plaintiff Attorneys for Defendants

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edombos@psfklaw.com

 

DEFENDANTS' SUPPLEMENTAL RESPONSE TO
PLAINTIFF'S FIRST INTERROGATORIES TO DEFENDANTS

Defendants, through their attorneys Johnson, Rosati, Schultz & Joppich, P.C.,
submit the following supplemental response to Plaintiff’s First Interrogatories to

Defendants:

 

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GENERAL OBJECTIONS

Defendants incorporate by reference each land every General Objection set
forth below into each of their objections to Plaintiff’s First Interrogatories. The
failure to specifically include any General Objection in any objection to a specific
interrogatory shall not be interpreted as a waiver of any General Objection to the
request Defcndants state the following General Objections:

1. Defendants object to each interrogatory to the extent that it seeks to
impose obligations upon Defendants beyond those required by the Michigan Rules.

2. Defendants object to providing any information or producing any
document that is protected from disclosure by the attorney-client privilege, attorney
work~product doctrine, or by any other applicable privilege. Defendants will not
produce any information protected from discovery by virtue of such privileges or
doctrines To the extent that any such privileged or otherwise protected information
is produced, the production is inadvertent and unintentional, and Defendants do not
intend to waive any applicable privilege or immunity as a result of such productionl

3. Defendants object to Plaintiff’s interrogatories to the extent they
require Defendants to produce information or documents not within their possession,
custody, or control. Defendants also object to the extent the interrogatories seek
information from or relating to any person or entity that is not a party to this

litigation.

 

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4. Defendants object on the grounds that Plaintiff’ s interrogatories are on
the whole overly broad, unduly burdensome, vague, ambiguous, seek information
which is neither relevant nor material to Plaintiff s claims, and seek information that
is not proportional to the needs of the case. No disclosure by Defendants of any
information or document shall constitute a waiver of any objection

5. These responses are made solely for the purpose of this action. Each
response is made under all objections as to competence, materiality, relevance,
privilege, or other objection as to admissibility which may apply in the event that
any such response, or the information contained, is sought to be used in arbitration
Defendants expressly reserve all such objections

6. Defendants’ decision, now or in the future, to provide information or
documents notwithstanding the objectionable nature of any of the definitions or
instructions, or the interrogatories or requests themselves, should not be construed
as: (a) a stipulation that the material is relevant and material to Plaintiffs’ claims;
(b) a waiver of the General Objections or the objections asserted in response to
specific interrogatories or other discovery requests; or (c) an agreement that
interrogatories or requests for similar information will be treated in a similar manner.

7. Defendants object to providing confidential and private information
regarding their employees who are not named parties to this litigation Accordingly,

Defendants will only produce such information subject to an appropriate protective

 

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order.

8. These responses reflect Defendants’ current knowledge, but
Defendants’ investigation into these matters continues Accordingly, Defendants
reserve the right to assert additional objections as appropriate and to supplement
their responses to these interrogatories and requests Defendants expressly reserve
the right to assert additional general and specific objections to these interrogatories
and requests and to supplement their responses as their investigation continues

INTERROGATORIES

l. Please identify all individuals with whom Mr. Mark Eisenbarth
discussed Plaintiff’s layoff from his position of Director of Youth Services, either
before or after Plaintifi’ s employment Was terminated
RESPONSE:

Defendants object that this request is overbroad and unduly burdensome
Defendants further object to the extent this interrogatory seeks information that may
be protected by the attorney-client privilege or attorney Work product doctrine

Subject to and without waiving the foregoing objections, Mark Eisenbarth
discussed the elimination of the Director of Youth Services position with Finance
Director/Assistant County Administrator Beth Dick, Human Resources Director
Kristen Wade, and former Circuit Court Administrator Eric Stevens, and he
presented it to the members of the Board of Commissioners, including
Cornmissioner Benjarnin E. Cross, Commissioner Marvin Engle, Commissioner
Susie Hughes, former Commissioner Jeff Lohman, Comrnissioner Kenneth
Mahoney, Commissioner Charles Nash, Commissioner Robert Scolnik,

Commissioner Rillastine Wilkins, and former Commissioner Terry Sabo, during th'e
Board’s September 27, 2016 meeting

 

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2. Please identify all individuals who participated in the decision to lay
off Plaintiff from his position of Director of Youth Services
RESPONSE:

_, Defendants object that this request is vague and ambiguous particularly with
respect to the phrase “participated in the decision.” Defendants further object to the
extent this interrogatory seeks information that may be protected by the attorney-
client privilege or attorney work product doctrine

Subject to and without waiving the foregoing obj ections, Defendants state that
County Administrator Mark Eisenbarth participated in the decision to eliminate
Plaintiffs position as Director of Youth Services, which was unanimously approved
by the Board of Commissioners, including Commissioner Benjamin E. Cross,
Commissioner Marvin Engle, Commissioner Susie Hughes, former Commissioner
Jeff Lohman, Commissioner Kenneth Mahoney, Commissioner Charles Nash,
Commissioner Robert Scolnik, Commissioner Rillastine Wilkins, and former
Commissioner Terry Sabo, during the Board’s September 27, 2016 meeting

3. Please identify all individuals who participated in any meetings or
discussions regarding the creation of the position Family Court Clinical Director
and/or the elimination of the position of Director of Youth Services

RESPONSE:

Defendants object to this request as overbroad and unduly burdensome
~ Defendants further object to the extent this interrogatory seeks information that may
be protected by the attorney-client privilege or attorney Work product doctrine.

Subject to and without waiving the foregoing objections, the following
individuals may have participated in meetings or discussions relating to the creation
of the Family Court Clinical Director position or the elimination of the Director of
Youth Services position: Plaintiff Vernon Oard, County Administrator Mark
Eisenbarth, Presiding Judge of the Family Court Hon. Gregory Pittman, Finance
Director/Assistant County Administrator Beth Dick, former Circuit Court
Administrator Eric Stevens, Commissioner Benjamin E. Cross, Commissioner

 

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Marvin Engle, Commissioner Susie Hughes, former Commissioner Jeff Lohman,
Commissioner Kenneth Mahoney, Commissioner Charles Nash, Commissioner
Robert Scolnik, Commissioner Rillastine Wilkins, and former Commissioner Terry
Sabo.

4. Please identify all individuals who participated in any meetings or
discussions relating in any Way to the hiring process for the position of interim and/or
permanent Farnily Court Clinical Director.

RESPONSE:

Defendants object that this request is overbroad, vague, and ambiguous,
particularly with respect to the phrase “meetings or discussions relating in any Way
to the hiring process.”

Subject to and without waiving the foregoing objections, Defendants state that
the following individuals may have participated in meetings or discussions relating
to hiring for the position of Family Court Clinical Director: Louis Churchwell,
Muskegon Area Intermediate School District Director of Nontraditional Programs
Jessica Domingues, Muskegon County Adrninistrator Mark Eisenbarth, JTC Shifl:
Supervisor Lucas Hakken, 14th Circuit Court Judge Hon. Kathy Hoogstra, fenner
Probation Officer Marlon James, Director of Muskegon County Department of
Health & Human Services Board lane Johnson, Presiding Family Court Judge Hon.
Gregory Pittman, HealthWest Executive Director Julia Rupp, former Circuit Court
Administrator Eric Stevens, Circuit Court Administrator Sandra Vanderhyde, Bruce
Wright, Commissioner Benjamin E. Cross, Commissioner Marvin Engle,
Commissioner Susie Hughes, former Commissioner Jeff Lohman, Commissioner
Kenneth Mahoney, Commissioner Charles Nash, Commissioner Robert Scolnik,
Commissioner Rillastine Wilkins, and former Commissioner Terry Sabo.

 

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5 . Please identify all individuals who were members of, or who ever
participated in, “JJAT” committee meetings

RESPONSE:

Plaintiff Vernon Oard, former Circuit Court Administrator Eric Stevens,
Circuit Court Administrator Sandra Vanderhyde, Thomas Cartwright, Carmelita
Coleman, Lisa Fox, Kelly France, Kim Green, Jordyn Havens, Javier Hernandez,
Holly Liefer, Lindsay Nelson, Wayne Silver, and Jill Stamison.

6. Please identify all individuals who participated in, or were in any way
consulted regarding, the choice of Ms. Lindsay Nelson to serve as lnterim Family
Court Clinical Director.

RESPONSE:

Defendants object that this request is overbroad, vague, and ambiguous,
particularly with the phrase “consulted regarding.”

Subj ect to and without waiving the foregoing objections, the following
individuals may have been consulted or otherwise participated in the appointment of
Lindsay Nelson as the lnterim Superintendent/Clinical Director: County
Administrator Mark Eisenbarth, Presiding Judge of the Family Court Hon. Gregory
Pittman, Finance Director/Assistant County Administrator Beth Dick, then-Circuit
Court Administrator Eric Stevens, Commissioner Benj amin E. Cross, Commissioner
Marvin Engle, Commissioner Susie Hughes, former Commissioner Jeff Lohman,
Commissioner Kenneth Mahoney, Commissioner Charles Nash, Commissioner
Robert Scolnik, Commissioner Rillastine Wilkins, and former Commissioner Terry
Sabo.

7. Please identify all individuals who participated in, or were in any way
consulted regarding, the hiring ost. Lindsay Nelson for the permanent position of

Family Court Clinical Director.

 

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RESPONSE:

Defendants object that this request is overbroad, vague, and ambiguous
particularly With the phrase “consulted regarding.”

Subject to and without waiving the foregoing objections, the following
individuals may have been consulted or otherwise participated in the hiring of
Lindsay Nelson for the permanent position as Family Court Clinical Director: Louis
Churchwell, JTC Director of School Jessica Domingues, Lucas Hakken, Circuit
Court ludge I~Ion. Kathy Hoogstra, former Probation Ofticer Marlon James, Director
of Muskegon County Department ofHealth & Human Services Board Jane Johnson,
Presiding Judge of Family Court Hon. Gregory Pittman, HealthWest Executive
Director Julia Rupp, Circuit Court Administrator Sandra Vanderhyde, and Bruce
Wright.

8. Please identify all individuals who participated in, or were in any way
consulted regarding, any investigation into Mr. Eric Stevens’s conductor behavior
While employed with Defendants
RESPONSE:

Defendants object that this interrogatory is overbroad, unduly burdensome,
vague, ambiguous and that it seeks information that is not proportional to the needs
of the case. Defendants also object to this interrogatory as it seeks personal
information regarding individuals who are not parties to this action. Defendants
further object to this interrogatory to the extent it calls for information and
documents that may be protected by the attorney-client privilege or attorney work
product doctrine

Subject to and without waiving the foregoing obj ections, Defendants state that
in addition to the present action, former Muskegon County employee J ill Stamison
filed a Charge of Discrimination with the Equal Employment Opportunity
Commission relating to then-Circuit Court Administrator Eric Stevens. The Equal
Employment Opportunity Commission investigated and dismissed the Charge,
issuing a no-cause finding

 

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9. Please identify all individuals who were members of the panel/group
that conducted the first interviews for the position of Farnily Court Clinical Director
in November and/or December 2016.

W=

Louis Churchwell, Jessica Domingues, Lucas Hakken, Hon. Kathy Hoogstra,
Marlon James, Sandra Vanderhyde, and Bruce Wright.

10. Please identify all individuals who were members of the panel/group
that conducted the second interviews for the position of Family Court Clinical
Director in November and/or December 2016.

RESPONSE:

Jane Johnson, Hon. Gregory Pittman, Julia Rupp, and Sandra Vanderhyde.

ll. Please identify all individuals who participated in searching for
documents responsive to Plaintiff’s First Request for Production of Documents,
including all Information Technology (IT) personnel.

RESPONSE:

Defendants object to the extent this interrogatory seeks information that may
be protected by the attorney-client privilege or attorney work product doctrine

Subject to and without waiving the foregoing obj ections, Sandra Vanderhyde
and IT Manager Mark Hansen primarily assisted in gathering documents to respond
to Plaintiff’s discovery requests

 

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l DECLARE THAT THE ABOVE AND FOREGOING ANSWERS ARE TRUE,
COMPLETE, AND CORRECT TO THE BEST OF MY KNOWLEDGE,
INFORMATION, AND BELIEF.

Dated: g</Zl[ r/X M/C éé£__¢_.

Muskegoh County, Mark Eisenbarth
(As to Interrogatories l thr ugh 3)

Dated: g / }7 J/ 3/ V%M f*V/{l"/Ll/l \_//

(As to linterrogatories 4 through 10)

 

As to objections only,

JOHNS ON, ROSATI,
SCHULTZ & JOPPICH, P.C.

    

aura Baifey Brown
Attorney for Defendants

27 5 55 Executive Drive, Suite 250
Farmington Hills, Ml 48331-3554
(248) 489-4100
lbrown@jrsjlaw.com

Dated: 03/2412 013 (P79742)

 

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PROOF OF SERVICE

The undersigned certifies that the foregoing
was served upon all parties to the above cause
to each of the attorneys/parties of record
herein at their respective addresses disclosed
on the pleadings on "`"2>~3\\~\§

BY: U.S. Mail l:l Telefacsimile
[:lHand Delivered l:lOvernight
courier
l:lFederal Express -Other: E-mail

Signature:

wm

Julie Doll

 

